       Case 4:20-cv-00045-JCH Document 72 Filed 12/07/21 Page 1 of 1



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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Stephanie Mueller,                                 No. CV-20-00045-TUC-JCH
10                  Plaintiff,                          ORDER
11   v.
12   Car Wash Partners Incorporated,
13                  Defendant.
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15          Pending before the Court is the parties’ proposed Stipulation to Dismiss (Doc. 71)
16   pursuant to Rule 41(a)(2), Fed. R. Civ. P., filed on December 6, 2021, by Plaintiff

17   Stephanie Mueller (“Plaintiff”) and Defendant Car Wash Partners Incorporated
18   (“Defendant”). The Stipulation seeks dismissal with prejudice, each party to bear their own

19   costs and attorneys’ fees. Good cause appearing,

20          IT IS ORDERED GRANTING the parties’ Stipulation to Dismiss (Doc. 71).
21          IT IS FURTHER ORDERED DISMISSING WITH PREJUDICE Plaintiff’s
22   Complaint (Doc. 1), with each party to bear their own fees and costs. The Clerk of the

23   Court shall close the case.

24          Dated this 6th day of December, 2021.

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